          Case 6:12-cv-01294-EFM-KGS Document 1 Filed 08/14/12 Page 1 of 5




 1   Mark D. Molner, Esq.
 2
     PRICE LAW GROUP, APC
     2210 W. 75th Street
 3   Prairie Village, KS 66208
     Direct Dial: (913) 529-1474
 4   Fax: (818) 907-2012
     mark@pricelawgroup.com
 5
     Kansas Bar Number: 24493
 6   Attorneys for Plaintiff,
 7
     CHRISTINE LAMBERT

 8

 9                      UNITED STATES DISTRICT COURT
10                              DISTRICT OF KANSAS
11
                                             Case No.: 12-1294-EFM-KGS
12   CHRISTINE LAMBERT,
13
                                             COMPLAINT AND DEMAND FOR
                Plaintiff,                   JURY TRIAL
14
          vs.                                (Unlawful Debt Collection Practices)
15
                                             Demand Does Not Exceed $10,000
16   IMAGE RECEIVABLES
     MANAGEMENT, LLC; and DOES 1
17   to 10, inclusive,
18              Defendants.
19

20                                  COMPLAINT
21                                 INTRODUCTION
22
           1.   This is an action for actual and statutory damages brought by plaintiff
23

24   Christine Lambert (hereinafter “Plaintiff”), an individual consumer, against
25
     defendant Image Receivables Management, LLC for violations of the Fair Debt
26

27

28


                                          -1-
                                       COMPLAINT
           Case 6:12-cv-01294-EFM-KGS Document 1 Filed 08/14/12 Page 2 of 5




 1
     Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’) which

 2   prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.
 3
                                 VENUE AND JURISDICTION
 4

 5         2.     Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28
 6
     U.S.C. § 1337 and § 1331. Venue in this District is proper in that the Defendant
 7
     transacts business here and the conduct complained of occurred here.
 8

 9                                        PARTIES
10
            3.    Plaintiff, Christine Lambert is a consumer, a natural person allegedly
11

12
     obligated to pay any debt, residing in Chester County, in the state of Pennsylvania.

13          4.    Defendant, Image Receivables Management, LLC is a corporation
14
     engaged in the business of collecting debt in this state with its principal place of
15

16   business located at 14 N. Main St., Hutchinson, Kansas 67501. The principal
17
     purpose of Defendant is the collection of debts in this state and Defendant
18
     regularly attempts to collect debts alleged to be due another.
19

20          5.    Defendant is engaged in the collection of debts from consumers using
21
     the mail and telephone. Defendant regularly attempts to collect consumer debts
22

23
     alleged to be due to another. Defendant is a ‘‘debt collector’’ as defined by the

24   FDCPA, 15 U.S.C. § 1692a(6).
25

26

27

28


                                            -2-
                                         COMPLAINT
           Case 6:12-cv-01294-EFM-KGS Document 1 Filed 08/14/12 Page 3 of 5




 1
                                            FACTS

 2          6.     Upon information and belief, within one year prior to the filing of this
 3
     complaint, Defendant called Plaintiff, seeking and demanding payment for an
 4

 5   alleged consumer debt owed under an account number.
 6
            7.     The debt that Defendant is attempting to collect on is an alleged
 7
     obligation of a consumer to pay money arising out of a transaction in which the
 8

 9   money, property, insurance or services which are the subject of the transaction are
10
     primarily for personal, family, or household purposes, whether or not such
11

12
     obligation has been reduced to judgment.

13          8.     Upon information and belief, Defendant began contacting Plaintiff
14
     and placing collection calls to Plaintiff sometime prior to May 10, 2012.
15

16          9.     Defendant, during communications with Plaintiff, within one year
17
     from the filing of this complaint, did not state that Defendant was a debt collector,
18
     attempting to communicate a debt, and that any information would be used for that
19

20   purpose.
21
            10.    As a result of the acts alleged above, Plaintiff suffered emotional
22

23
     distress resulting in her feeling stressed, amongst other negative emotions.

24          11.    Defendant’s illegal abusive collection communications as more fully
25
     described above were the direct and proximate cause of severe emotional distress
26

27   on the part of Plaintiff.
28


                                             -3-
                                          COMPLAINT
           Case 6:12-cv-01294-EFM-KGS Document 1 Filed 08/14/12 Page 4 of 5




 1
                                          COUNT I – FDCPA

 2          12.   Plaintiff repeats and realleges and incorporates by reference to the
 3
     foregoing paragraphs.
 4

 5          13.   Defendant violated the FDCPA. Defendant’s violations include, but
 6
     are not limited to, the following:
 7
                  (a) Defendant violated §1692f of the FDCPA by using unfair or
 8

 9                   unconscionable means in connection with the collection of an
10
                     alleged debt; and
11

12
                  (b) Defendant violated §1692e(11) of the FDCPA by failing to

13                   disclose in the oral communications with Plaintiff that the
14
                     communications were from a debt collector, and that the debt
15

16                   collector was attempting to collect a debt, and that any information
17
                     obtained would be used for that purpose, when said
18
                     communications were not formal pleadings.
19

20         14.    Defendant’s acts as described above were done intentionally with the
21
     purpose of coercing Plaintiff to pay the alleged debt.
22

23
           15.    As a result of the foregoing violations of the FDCPA, Defendant is

24   liable to the plaintiff Christine Lambert for actual damages, statutory damages, and
25
     costs and attorney fees.
26

27

28


                                              -4-
                                           COMPLAINT
          Case 6:12-cv-01294-EFM-KGS Document 1 Filed 08/14/12 Page 5 of 5




 1
     WHEREFORE, Plaintiff, Christine Lambert, respectfully requests that judgment be

 2   entered against defendant Image Receivables Management, LLC for the following:
 3
           A. Actual damages from each Defendant pursuant to 15 U.S.C. §
 4

 5         1692k(a)(1) for the emotional distress suffered as a result of the intentional
 6
           and/or negligent FDCPA violations, in an amount to be determined at trial
 7
           and for Plaintiff.
 8

 9         B. Statutory damages pursuant to 15 U.S.C. § 1692k.
10
           C. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.
11

12
           D. For such other and further relief as the Court may deem just and proper.

13

14

15
                                              RESPECTFULLY SUBMITTED,
16
      DATED: August 14, 2012                  PRICE LAW GROUP APC
17

18

19
                                              By:/s/ Mark D. Molner
                                                   Mark D. Molner
20                                                 Attorney for Plaintiff
21

22

23                              DEMAND FOR JURY TRIAL
24         PLEASE TAKE NOTICE that Plaintiff, CHRISTINE LAMBERT,
25
     demands trial by jury in this action.
26

27

28


                                            -5-
                                         COMPLAINT
